IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
(HARRISONBURG DIVISION)

FREEDOM WATCH, INC.
Plaintiff, Case No.: 17-cv-00104-EKD
v.

RESPONSE UNLIMITED, INC., PHILLIP
ZODHIATES, AND JOEL BAUGHER,

Defendants.

SUPPLEMENTAL BRIEF IN SUPPORT OF DEFENDANTS’
MOTION TO DISQUALIFY LARRY KLAYMAN AS PLAINTIFF’S C()UNSEL
ON ACCOUNT OF NEW DEVELOPMENT:

ISSUANCE ON FEBRUARY 6, 2018 OF
REPORT OF D.C. BAR BOARD ON PROFESSIONAL RESPONSIBILITY

COME NOW Defendants Response Unlimited, Inc., Phillip Zodhiates, and Joel
Baugher, by counsel, and Offer this Supplemental Brief In Support of the Motion To Disqualify
Larry Klayman AS Plaintiff’ S Counsel, and States as follows:

In Plaintiff` s Surreply filed on February l, 2018 (Docket # 63), Plaintiff Stated:

Second, the characterizations of the status of the ten year old bar proceeding in the
District of Columbia, where there has been no sanction issued as the matter remains
before the Board of Professional Responsibility - and in an)i event once it rules the
matter can be taken up to the District of Colambia Court of appeals - are misleading
and incorrect Indeed, the language Case cited were mere findings and a
recommendation to the Board of the hearing committee and were incorrect as a matter
of fact and law, as l\lr. Klayman argued before the Boara' last fall. T he Board has yet to
issue its opinion.

(Docket #63, Bold added).

Five days later, on February 6, 2018, the District Of Columbia Board On
Professional Responsibility §§ issue its “Report And Recommendation Of The Board On

Professional Responsibility, a copy of Which is attached as Exhibit 1.
CONCLUSION
WHEREFORE, for the reasons previously stated, Defendants move to disqualify
Larry Klayman from acting as counsel for Plaintiff Freedom Watch, Inc. in this case, and move
the Court to deny Larry Klayman’s Motion To Appear Pro Haec Vice in this case.

Respectfully submitted this 9th day of February, 2018.

RESPONSE UNLIMITED, INC., PHILLlP
ZODHIATES and JOEL BAUGHER
By Counsel

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CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that a true and correct copy of the foregoing Was served this 9th
day of February, 2018, via the electronic notices generated by the CM/ECF system upon counsel
for Plaintiff, Jonathan Alden Moseley, Esq. Moseley Legal Associations, LP,

contact(a)ionmoseley.com, and Larry Elliot Klayman, Esq., Klayman Law Firm,

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/s/ William E. Shmidheiser, 111
Local counsel for Resp'onse Unlimited, 1nc.,
Phillip Zodhiates and Joel Baugher

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